                           Case 1-19-43516-ess
0022-47-EPIEXX-00065819-84231
                                                         Doc 33       Filed 11/04/19         Entered 11/04/19 10:52:14
                                UNITED STATES BANKRUPTCY COURT
                                                    EASTERN DISTRICT OF NEW YORK


In re: MICHAEL KRISHEVSKY                                                                               Case No.: 119-43516-ESS

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Marianne De Rosa, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 06/06/2019.
2) The plan was confirmed on NA.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was converted on 10/04/2019.
6) Number of months from filing or conversion to last payment: 0.
7) Number of months case was pending: 4.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 38,345,252.22.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
        Total paid by or on behalf of the debtor:                 $.00
        Less amount refunded to debtor:                           $.00
 NET RECEIPTS:                                                                        $.00

 Expenses of Administration:
        Attorney's Fees Paid Through The Plan:                                     $.00
        Court Costs:                                                               $.00
        Trustee Expenses and Compensation:                                         $.00
        Other:                                                                     $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                      $.00

 Attorney fees paid and disclosed by debtor:                   $.00




 Scheduled Creditors:
Creditor                                                     Claim             Claim               Claim       Principal           Interest
Name                                         Class           Scheduled         Asserted            Allowed     Paid                Paid
AMERICAN HONDA FINANCE                       Secured                     NA    20,063.06        20,063.06             .00                 .00
CONEY ISLAND HOSPITAL                        Unsecured            562.90              NA               NA             .00                 .00
CONSOLIDATED EDISON COMPANY                  Unsecured            250.00              NA               NA             .00                 .00
GW MECHANICAL CORP                           Priority          11,000.00              NA               NA             .00                 .00
LEON CONSTRUCTION CORP                       Priority          68,000.00              NA               NA             .00                 .00
LEON CONSTRUCTION CORP                       Unsecured         55,150.00              NA               NA             .00                 .00
MAGELLAN RX MEDICARE                         Unsecured            900.00              NA               NA             .00                 .00
MK 7 FUNDING, LLC                            Priority         300,000.00              NA               NA             .00                 .00
MK 7 FUNDING, LLC                            Unsecured        287,150.00              NA               NA             .00                 .00
NELLI FRID                                   Unsecured         58,500.00              NA               NA             .00                 .00
NEW YORK STATE DEPT OF TAX AND               Secured          166,471.70              NA               NA             .00                 .00
NYC PARKING VIOLATIONS BUREAU                Unsecured            500.00              NA               NA             .00                 .00
NYS DEPT OF TAX & FINANCE                    Secured           71,592.54              NA               NA             .00                 .00
SEA GATE ASSOCIATION                         Unsecured         31,450.41              NA               NA             .00                 .00
SELECT PORTFOLIO SERVICING, INC.             Unsecured                   NA           NA               NA             .00                 .00

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In re: MICHAEL KRISHEVSKY                                                                               Case No.: 119-43516-ESS

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                     Claim               Claim           Claim         Principal           Interest
Name                                       Class             Scheduled           Asserted        Allowed       Paid                Paid
UNITED STATES DEPT OF TREASURY             Secured           150,000.00                NA               NA            .00                 .00
US BANK NATIONAL                           Secured                   NA         512,924.33     512,924.33             .00                 .00
US BANK NATIONAL ASSOC                     Secured                   NA         336,296.18     336,296.18             .00                 .00
WELLS FARGO BANK, N.A.                     Unsecured                 NA                NA               NA            .00                 .00

 Summary of Disbursements to Creditors:                                                          Claim         Principal           Interest
                                                                                                 Allowed       Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                .00             .00                 .00
     Mortgage Arrearage:                                                                       849,220.51             .00                 .00
     Debt Secured by Vehicle:                                                                         .00             .00                 .00
     All Other Secured:                                                                         20,063.06             .00                 .00
 TOTAL SECURED:                                                                                869,283.57             .00                 .00

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                        .00           .00                 .00
     Domestic Support Ongoing:                                                                          .00           .00                 .00
     All Other Priority:                                                                                .00           .00                 .00
 TOTAL PRIORITY:                                                                                        .00           .00                 .00

 GENERAL UNSECURED PAYMENTS:                                                                            .00           .00                 .00

 Disbursements:
        Expenses of Administration:                                                                  $.00
        Disbursements to Creditors:                                                                  $.00
 TOTAL DISBURSEMENTS:                                                                                                                   $.00

    12) The trustee certifies that the foregoing summary is true and complete and all administrative matters for which the trustee is
    responsible have been completed. The trustee requests that the trustee be discharged and granted such other relief as may be just
    and proper.


                   Date:     10/31/2019                                   By:     /s/Marianne De Rosa


           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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